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                        IN THE UNITED STATES DISTRICT COURT
                                                                                              FILED
                        FOR THE NORTHERN DISTRICT OF TEXAS                            December 18, 2017
                               WICHITA FALLS DIVISION                                   KAREN MITCHELL
                                                                                    CLERK, U.S. DISTRICT COURT
 UNITED STATES OF AMERICA                       '
                                                '
 V.                                             '    Criminal Number: 7:17-CR-008-O
                                                '
 JOHN FULLER (09)                               '

              REPORT OF ACTION AND RECOMMENDATION ON PLEA
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

        This Report of Action on Plea is submitted to the court under 28 U.S.C. ' 636(b)(3).

This case has been referred by the United States district judge to the undersigned for the taking

of a guilty plea.   The parties have consented to appear before a United States magistrate judge

for these purposes.

        The defendant appeared with counsel before the undersigned United States magistrate

judge who addressed the defendant personally in open court and informed the defendant of, and

determined that the defendant understood, the admonitions contained in Rule 11 of the Federal

Rules of Criminal Procedure.

        The defendant pleaded guilty to Count One (1) of the Superseding Information (ECF No.

160), charging the defendant with a violation of 21 U.S.C. § 846.        The undersigned magistrate

judge finds the following:

        1. The defendant, upon advice of counsel, has consented orally and in writing to enter
        this guilty plea before a magistrate judge subject to final approval and sentencing by the
        presiding district judge;

        2.   The defendant fully understands the nature of the charges and penalties;

        3. The defendant understands all constitutional and statutory rights and wishes to waive
        these rights, including right to a trial by jury and the right to appear before a United States
        district judge;

        4.   The defendant=s plea is made freely and voluntarily;
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       5.   The defendant is competent to enter this plea of guilty;

       6.   There is a factual basis for the plea; and

       7.   The ends of justice are served by acceptance of the defendant=s plea of guilty.

       Although I have conducted these proceedings, accepted the defendant=s plea of guilty,

and recommended that the United States district judge find him guilty, upon the defendant=s

consent and the referral from the United States district judge, that judge has the power to review

my actions in this proceeding and possesses final decision-making authority.         Thus, if the

defendant has any objections to the findings or any other action of the undersigned he should

make those known to the United States district judge within fourteen (14) days of today.

       I recommend that defendant=s plea of guilty be accepted, that the defendant be adjudged

guilty by the United States district judge, and that sentence be imposed accordingly.

       Signed December 18, 2017.


                                                      ___________________________________
                                                      Hal R. Ray, Jr.
                                                      UNITED STATES MAGISTRATE JUDGE




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